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12

13                                  UNITED STATES DISTRICT COURT

14                               NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN FRANCISCO DIVISION

16
     SALOOJAS, INC.,                                            Case No.: 3:22-cv-02887-JSC
17
                                                                Hon. Jacqueline Scott Corley
18          Plaintiff,

19
            v.                                                  STIPULATION AND [PROPOSED]
20                                                              ORDER TO EXTEND TIME FOR
                                                                DEFENDANT TO FILE REPLY IN
21   AETNA HEALTH OF CALIFORNIA, INC.,                          SUPPORT OF DEFENDANT’S MOTION
                                                                TO DISMISS AND MOTION TO STRIKE
22           Defendant.                                         CLASS ACTION ALLEGATIONS

23
                                                                Complaint Filed:     May 16, 2022
24

25

26          Pursuant to Civil Local Rule 6-1(a), Defendant Aetna Health of California, Inc. (“Defendant”)

27   and Plaintiff Saloojas, Inc. (“Plaintiff”), by and through their respective counsel of record, stipulate as

28                                                        1
            STIPULATION AND [PROPSOED ORDER] TO EXTEND TIME FOR DEFENDANT TO FILE REPLY IN SUPPORT OF
                                    MOTION TO DISMISS AND MOTION TO STRIKE CLASS ACTION ALLEGATIONS
                                                                               Case No.: 3:22-cv-02887-JSC
           Case 3:22-cv-02887-JSC Document 27 Filed 08/02/22 Page 2 of 4




 1   follows:

 2          WHEREAS, Plaintiff served its Complaint on May 27, 2022;

 3          WHEREAS, Defendant filed its Notice of Motion, Motion to Dismiss Complaint, and Motion

 4   to Strike Class Action Allegations (Dkt. No. 25) on July 15, 2022;

 5          WHEREAS, Plaintiff filed its Opposition to Defendant’s Motion to Dismiss (Dkt. No. 26) on

 6   July 29, 2022;

 7          WHEREAS, Defendant has requested, and Plaintiff has consented to, an additional seven (7)

 8   days for Defendant to file its Reply in Support of its Motion to Dismiss and Motion to Strike Class
 9   Action Allegations;

10          WHEREAS, an additional seven days for Defendant to file its reply will not alter the date of

11   any event or any deadline already fixed by the Court order because the hearing is scheduled before

12   this Court on September 29, 2022;

13          NOW, THEREFORE, IT IS HEREBY STIPULATED pursuant to Civil Local Rule 6-1(a), by

14   and between the parties, through their respective counsel, that Defendant shall file its Reply in Support

15   of its Motion to Dismiss and Motion to Strike Class Action Allegations by August 12, 2022.

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17          IT IS SO STIPULATED.

18

19    DATED: August 2, 2022                                  ALSTON & BIRD LLP

20
                                                             By:   /s/ Jean E. Richmann________
21

22    DATED: August 2, 2022                                  LAW OFFICE OF MICHAEL LYNN
                                                             GABRIEL
23

24
                                                             By:    /s/ Michael L. Gabriel________
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           STIPULATION AND [PROPSOED ORDER] TO EXTEND TIME FOR DEFENDANT TO FILE REPLY IN SUPPORT OF
                                   MOTION TO DISMISS AND MOTION TO STRIKE CLASS ACTION ALLEGATIONS
                                                                              Case No.: 3:22-cv-02887-JSC
         Case 3:22-cv-02887-JSC Document 27 Filed 08/02/22 Page 3 of 4




 1        PURSUANT TO STIPULATION, IT IS SO ORDERED.

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                                                        __________________________________
 5   DATED: ___________, 2022                             UNITED STATES DISTRICT JUDGE
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         STIPULATION AND [PROPSOED ORDER] TO EXTEND TIME FOR DEFENDANT TO FILE REPLY IN SUPPORT OF
                                 MOTION TO DISMISS AND MOTION TO STRIKE CLASS ACTION ALLEGATIONS
                                                                            Case No.: 3:22-cv-02887-JSC
           Case 3:22-cv-02887-JSC Document 27 Filed 08/02/22 Page 4 of 4




 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 2          Pursuant to Civil Local Rule 5-1(h)(3), the filer of this document attests that concurrence in

 3   the filing of this document has been obtained from the signatories above.

 4

 5
     DATED: August 2, 2022                                  /s/ Jean E. Richmann
 6                                                          Jean E. Richmann
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10                                                          Counsel for Defendant Aetna Health of
11                                                          California, Inc.

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           STIPULATION TO EXTEND TIME FOR DEFENDANT TO FILE REPLY IN SUPPORT OF MOTION TO DISMISS AND
                                                          MOTION TO STRIKE CLASS ACTION ALLEGATIONS
                                                                                Case No.: 3:22-cv-02887-JSC
